Case: 6:16-cr-00005-KKC-HAI Doc #: 839 Filed: 05/22/20 Page: 1 of 2 - Page ID#: 2592




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                      AT LONDON
                          CRIMINAL ACTION NO. 16-CR-5-SS-KKC

 UNITED STATES OF AMERICA,                                                            PLAINTIFF,

 -VS-

 SCOTTY JAMES WATSON,                                                               DEFENDANT,
 __________________________________________________________________

                           ORDER TO REDUCE TERM
                      OF IMPRISONMENT TO TIME SERVED


        BEFORE THE COURT is a motion filed by the Defendant, Scotty James Watson, by and
 through his private counsel, with the United States Attorney joining in that motion with the
 advice and consent and the Director of the Federal Bureau of Prisons, pursuant to 18 U.S.C. §
 3582(c)(1)(A)(i), seeking a modification of the term of imprisonment of Scotty James Watson to
 time served and commencement of the five-year term of supervised release previously imposed.

        Having reviewed the entire record and being otherwise fully and sufficiently advised, the
 Court does hereby find the following:

        1. Defendant, Scotty James Watson pled guilty to violation of 21 U.S.C. § 846,
 Conspiracy to Distribute Methamphetamine. He was sentenced on May 25, 2017, in the United
 States District Court for the Eastern District of Kentucky, to a 95-month term of imprisonment
 followed by a five-year term of supervised release.

        2. Mr. Watson is currently incarcerated in the Federal Correctional Complex FMC
 Butner. He has served 4 years, 4 months and 29 days of his sentence (55.7% of his full term
 sentence). His Good Conduct Release date is September 21, 2022.

     3. Mr. Watson, now age 35, has been diagnosed with Stage 4 lung cancer and has a strong
 family history of early death from that disease. The condition is terminal and his life expectancy
 is less than six months.

         4. Title 18 U.S.C. § 3582(c)(1)(A)(i) authorizes the Court, upon proper motion to modify
 a term of imprisonment upon the finding that extraordinary and compelling reasons warrant the
 reduction. The Defendant contends and the United States’ attorney and the Director of the
 Bureau of Prisons agree, and this Court agrees, that the defendant's limited life expectancy
 constitutes an extraordinary and compelling reason that warrants the requested reduction.
Case: 6:16-cr-00005-KKC-HAI Doc #: 839 Filed: 05/22/20 Page: 2 of 2 - Page ID#: 2593




        IT IS THEREFORE ORDERED that the defendant's term of imprisonment is hereby
 reduced to the time he has already served.

        IT IS FURTHER ORDERED that the defendant shall be released from the custody of the
 Federal Bureau of Prisons as soon as his medical condition permits, the release plan is
 implemented, and travel arrangements can be made.

        IT IS FURTHER ORDERED that upon his release from the custody of the Federal
 Bureau of Prisons, the defendant shall begin serving the five-year term of supervised release
 previously imposed.

        SO ORDERED this the 22nd day of May, 2020.
